Filed 06/16/20                                                                  Case 20-22523                                                       Doc 22

     FORM L150 Notice of Trustee's Motion to Dismiss for Failure to Appear at §341(a) Meeting of Creditors (v.8.14)                   20−22523 − A − 7
                     UNITED STATES BANKRUPTCY COURT
                          Eastern District of California
                                Robert T Matsui United States Courthouse
                                        501 I Street, Suite 3−200
                                         Sacramento, CA 95814

                                                    (916) 930−4400
                                                 www.caeb.uscourts.gov
                                                 M−F 9:00 AM − 4:00 PM

              NOTICE OF TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO
         APPEAR AT §341(a) MEETING OF CREDITORS AND MOTION TO EXTEND THE
               DEADLINES FOR FILING OBJECTIONS TO DISCHARGE AND
                                 MOTIONS TO DISMISS

                      Case Number:                20−22523 − A − 7                                         Docket Control Number:   GMR−1
     Debtor Name(s) and Address(es):
         Julia B Dunisch
         110 Olivadi Way
         Sacramento, CA 95834

         Your rights may be affected. You should read these papers carefully and discuss them with your
         attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to
         consult one.

         NOTICE IS HEREBY GIVEN that the chapter 7 trustee in this case has filed a motion to dismiss the
         case on the grounds that Julia B Dunisch , the debtor(s), failed to appear at the meeting of creditors
         held on 6/16/20.

         The debtor or any other party in interest who does not want the case dismissed must file and serve
         an opposition to the trustee's motion no later than 14 days before the hearing date. In the
         absence of a timely opposition, no hearing will be held and the case will be dismissed. Note: we
         have enclosed the two documents that will help you file and serve the opposition: "Notice of
         Hearing and Opposition on Trustee's Motion to Dismiss for Failure to Appear at §341(a) Meeting of
         Creditors" and a Certificate of Mailing.

         If a timely opposition is filed to the trustee's motion, the court will consider the dismissal of the case
         at a hearing on 7/20/20 at 09.00a in Sacramento Courtroom 33, Department E of the U.S.
         Bankruptcy Court, at the address shown above.

         If the court is persuaded not to dismiss the case, the meeting of creditors will be held on 7/28/20 at
         02:00 PM at This meeting is being held telephonically. For telephonic information please go to
         www.caeb.uscourts.gov.

         NOTICE IS FURTHER GIVEN that if the court decides not to dismiss the case, it may attach
         conditions, such as to extend deadlines for parties to file actions under 11 U.S.C. §523, §707(b) and
         §727.

         Important Notes:
             1.     The opposition must be filed with the Clerk of the U.S. Bankruptcy Court at the address
                    shown above, not later than 14 days before the hearing date.
             2.     The opposition must also be mailed to the Chapter 7 Trustee, the U.S. Trustee, the
                    debtor and the debtor's attorney 14 days before your scheduled hearing with the court.
                    Their addresses can be found in the enclosed Certificate of Mailing.
             3.     If you have submitted your opposition, you or your attorney must appear at the court
                    hearing scheduled above.

     Dated: 06/16/2020                                                                   Geoffrey Richards, Trustee
                                                                                         PO Box 579
                                                                                         Orinda, CA 94563
Filed 06/16/20                                             Case 20-22523                                                             Doc 22

     Filer's Name: _______________________________
                   _______________________________
     Address:
                      _______________________________

     Phone:           _______________________________

                                      UNITED STATES BANKRUPTCY COURT
                                          Eastern District of California
                                              Robert T Matsui United States Courthouse
                                                       501 I Street, Suite 3−200
                                                        Sacramento, CA 95814


     In re                                           )                       Case Number:           20−22523 − A − 7
                                                     )
     Julia B Dunisch                                 )                       Docket Control No: GMR−1
                                                     )
                                                     )                       NOTICE OF HEARING AND OPPOSITION
                                                     )                       ON TRUSTEE'S MOTION TO DISMISS FOR
                                                     )                       FAILURE TO APPEAR AT §341(a) MEETING
                                                     )                       OF CREDITORS AND MOTION TO EXTEND
                                    Debtor(s).       )                       THE DEADLINES FOR FILING OBJECTIONS
     _______________________________________________ )                       TO DISCHARGE AND MOTIONS TO DISMISS

     TO THE TRUSTEE, THE UNITED STATES TRUSTEE, THE DEBTOR(S), AND THE ATTORNEY FOR
     THE DEBTOR(S), IF APPLICABLE:

             YOU ARE HEREBY NOTIFIED that on 7/20/20 at 09.00a in Sacramento Courtroom 33,
     Department E of the U.S. Bankruptcy Court, at the address shown above there will be a hearing on the
     Trustee's Motion to Dismiss For Failure to Appear at §341(a) Meeting of Creditors.
     This motion is opposed by ________________________________________________,
     who is a ______________________________ (type of party − debtor, creditor, other party in interest)
     in this case. Opposition is based on the following: (State all the reasons this case should not be dismissed. If this
     Notice of Hearing and Opposition is filed by the debtor(s), include the reason(s) you failed to appear at the meeting. Attach
     additional pages, if necessary.)




             I declare under penalty of perjury that the foregoing is true and correct.

     Dated: _____________________________                             Signed: _____________________________


      Instructions: To request a hearing on the Trustee's Motion, a completed, originally signed Notice of Hearing and
     Opposition with any additional pages attached must be filed with the Clerk of Court at the address shown above not
     later than 14 days before the hearing date, and copies must be received by the Trustee and the United States Trustee
     not later than 14 days before the hearing date. If the completed Notice of Hearing and Opposition is filed by a party
     other than the absent debtor(s), copies of the completed Notice of Hearing and Opposition with any additional pages
     attached must also be received by the debtor(s) and, if represented by legal counsel, by the attorney for the debtor(s)
     not later than 14 days before the hearing date.
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     In re: Julia B Dunisch                                     Case number: 20−22523 − A − 7

                                            CERTIFICATE OF MAILING

             I, _______________________________________, hereby certify that a copy of the Notice of
     Hearing and Opposition on Trustee's Motion to Dismiss For Failure to Appear at §341(a) Meeting of
     Creditors and Motion to Extend the Deadlines for Filing Objections to Discharge and Motions to Dismiss
     and the additional pages, if any, to which this certificate is attached was(were) mailed today to the
     following entities at the address shown below:

     Geoffrey Richards                                          Office of the U.S. Trustee
     PO Box 579                                                 Robert T. Matsui United States Courthouse
     Orinda, CA 94563                                           501 I Street, Room 7−500, Sacramento, CA 95814




            If I am a party other than the debtor or joint debtor, I further certify that a copy of the Notice of
     Hearing and Opposition on Trustee's Motion to Dismiss For Failure to Appear at §341(a) Meeting of
     Creditors and Motion to Extend the Deadlines for Filing Objections to Discharge and Motions to Dismiss
     and the additional pages, if any, to which this certificate is attached was(were) additionally mailed today to
     the debtor(s) and, if represented by legal counsel, to the attorney for the debtor(s) at the address shown
     below:

     Julia B Dunisch
     110 Olivadi Way
     Sacramento, CA 95834


     Julia B Dunisch
     110 Olivadi Way
     Sacramento, CA 95834


     Dated: _____________________________                       Signed: ______________________________

                                                                Printed Name: ________________________
                                                                Address: ____________________________
                                                                          ____________________________
                                                                          ____________________________

      Complete this Certificate of Mailing and attach it to the originally signed Notice of Hearing and Opposition on
     Trustee's Motion to Dismiss For Failure to Appear at §341(a) Meeting of Creditors and Motion to Extend the Deadlines
     for Filing Objections to Discharge and Motions to Dismiss you file with the Clerk of Court.
